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 5
                           UNITED STATES DISTRICT COURT
 6                        EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,               )
 8                                            )     No. CR-08-010-EFS-1
                        Plaintiff,            )
 9                                            )     ORDER GRANTING IN PART
      v.                                      )     DEFENDANT’S MOTION TO
10                                            )     RECONSIDER
      BRANO MILOVANOVIC,                      )
11                                            )
                        Defendant.            )
12                                            )

13          BEFORE THE COURT is Defendant’s Motion to Reconsider Parts of

14   Order Allowing Release and To Modify Conditions of Release (Ct. Rec.

15   39).    The United States objects to modification of the release

16   conditions, but does not object to extending the deadline for

17   posting the property bond.

18          Defendant’s unopposed request in the Motion to Reconsider (Ct.

19   Rec. 39) to extend the deadline to post the property is GRANTED.

20   Defendant shall post the property bond required by this court’s

21   Order setting conditions of release (Ct. Rec. 32) by the close of

22   business, March 3, 2008.

23          Defendant’s request to modify the bond is DENIED.

24          DATED February 13, 2008.

25
26                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING IN PART DEFENDANT’S MOTION TO RECONSIDER - 1
